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    ~AO 245D (CASD) (Rev   12111) Judgment in a Criminal Casefor Revocations
                 Sheet 1



                                                                                                                      DEC 1 U2U12
                                                                                                                                               I
                    UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                      V.                                         (For Revocation of Probation or Supervised Release)
                  EVELYN YVETTE A LV AREZ (1)                                    (For Offenses Committed On or After November 1, 1987)


                                                                                 Case Number: IOCR0389-W

                                                                                 Leila W Morgan, Federal Defenders Inc.
                                                                                 Defendant's A ttomey
    REGISTRATION No. 18335298
o   THE DEFENDANT:
     o  admitted guilt to violation ofallegation(s) No ....;T..:H.:,;R;.;,E=E_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o   was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following alJegation(s):


    Allegation Number                      Nature of Violation
             3             Failure to report change in residence/employment




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                2   of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


              IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and UnIted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                 DECEMBER 10,2012
                                                                                 Date of Imposition of Sentence




                                                                                  HON. THOMAS 1. W
                                                                                 UNITED STATES D




                                                                                                                                  IOCR0389-W
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AO 245D (CASD) (Rev. 12/11) Judgment in a Criminal Case for Revocations
           Sheet 2 -- Imprisonment

                                                                                               Judgmenl--- Page   2   of        2
 DEFENDANT: EVEL YN YVETTE ALVAREZ (I)
 CASE NUMBER: lOCR0389-W
                                                                 IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SIXTY (60) DAYS




    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.          Op.m.    on
                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before
                         -------------------------------------------------------------------------
           o    as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                      to

 at _____________________ , with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL

                                                                             By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                           IOCR0389-W
